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                               IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF PENNSYL VANIA



KA                                                )
                                   Plaintiff,     )
                                                  )
            vs.                    ) Civil Action No. 11-1215
                        I            Judge Joy Flowers Conti/
                                                  )
CIT OF PITTSBljJRGH; JOHN DOE NO. ) Magistrate Judge Maureen P. Kelly
1 OF HE PITTSBURGH BUREAU OF       )
POLItE; JOHN DbE NO.2 OF THE       )
PITTSBURGH BUREAU OF POLICE;       )
JOHij DOE NO.3 OF THE PITTSBURGH)
BUREAU OF POLIICE; JOHN DOE NO. )
5 OF tHE PITTSBURGH BUREAU OF      )
POLICE,                            )
                       Defendants. )



                                                ORDER



            AND NOW, this 4th day of February, 2013, in accordance with the terms of the

settlerent agreement reached in the presence of this Court, and as directed during the status

conference on this date, it is hereby ORDERED that defendants are directed to produce to

plain I. ffs counsel ¢opies of: PBP Policy 12-8 Continuum of Control, 3.0 Control Levels, and

            evel 2 Verb$l Directions. Defendants are also directed to produce to plaintiff s counsel

            ofSRR PBRi Form 10.10 and Order #12-6, "Use of Force Policy". All identified
                        i
docu ents must bel produced to plaintiffs counsel of record by 5 p.m. on Friday, February 8,
        1

2013.
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      j   Counsel for defendants is directed to check with his clients and determine if a training

lesso . plan as reference in Section 5.1.2 has been developed. If it has been developed, it must be

produ ed to plaintiffs counsel of record by 5 p.m. on Friday, February 8, 2013.

          As agreed   tq by counsel for all parties in accordance with the terms of the settlement, all
                       I
docu ents shall be jkept confidential.




                                                                                            TEJUDGE

cc:       Counsel of Record Via CM-ECF
